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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ALABAMA
                                 NORTHERN DIVISION


  UNITED STATES OF AMERICA                           )
                                                     )
  v.                                                 )   CIVIL NO. 03-0703-WS-M
                                                     )
  EDWARD FILES,                                      )   CRIMINAL NO. 97-0099
                                                     )
         Defendant.                                  )


                                                ORDER

         This matter is before the Court on petitioner Edward Files’ Petition Requesting
  Certificate of Appealability or in the Alternative Motion for Relief from Final Judgment (doc.
  2035) and his Application to Proceed without Prepayment of Fees and Affidavit (doc. 2036).
  I.     Background.
         Files’ Amended Petition Under 28 U.S.C. § 2255 to Vacate, Set Aside, or Correct
  Sentence by a Person in Federal Custody (doc. 1881) identified four grounds for relief, including
  the following: (a) ineffective assistance of counsel on direct appeal in failing to litigate alleged
  Apprendi error; (b) Sixth Amendment claim of Apprendi error as to conspiracy convictions
  because a judge made findings as to elements of the offense; (c) erroneous sentence
  enhancements for obstruction of justice and use of a firearm in connection with that obstruction
  (“Ground Three”); and (d) ineffective assistance of counsel on direct appeal in failing to object
  to trial court’s alleged impairment of defendant’s use of peremptory challenges. With leave of
  Court, Files subsequently amended his Amended Petition to transform the sentence enhancement
  claim presented in Ground Three into an ineffective assistance claim concerning appellate
  counsel’s failure to object to those enhancements on direct appeal, and also to interpose a new
  claim under Blakely v. Washington, 542 U.S. 296, 124 S.Ct. 2531, 159 L.Ed.2d 403 (2004).
         On January 13, 2006, the undersigned entered a 37-page Order (doc. 2021) denying
  Files’ § 2255 Petition in its entirety. On February 23, 2006, Files submitted a Motion for
  Reconsideration (doc. 2028) arguing, inter alia, that the Court erroneously rejected his claim
  arising from appellate counsel’s failure to litigate his Apprendi issue on direct appeal.
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  According to Files, he would have been entitled to resentencing if appellate counsel had argued
  Apprendi on direct appeal and the resulting delays might have kept his appeal alive long enough
  to give him the benefit of Blakely and Booker when those decisions were handed down. Files
  also expressed disagreement with the Court’s analysis of Ground Three and reiterated arguments
  that had been previously considered and rejected. On March 17, 2006, the undersigned entered
  an Order (doc. 2032) granting reconsideration but, upon reconsideration, reaffirming the January
  13 Order. Files now seeks a Certificate of Appealability (“COA”) and in forma pauperis status
  on appeal.1 These requests will be considered in turn.
  II.    Motion for Certificate of Appealability.
         A.      Legal Standard.
         Files’ appeal is governed by 28 U.S.C. § 2253(c)(1)(B), which provides in pertinent part
  that “[u]nless a circuit justice or judge issues a certificate of appealability, an appeal may not be
  taken to the court of appeals from ... the final order in a proceeding under section 2255.” Id.
  Thus, a COA is ordinarily a jurisdictional prerequisite to an appeal in a collateral proceeding
  attacking a federal conviction. See Pagan v. United States, 353 F.3d 1343, 1344-45 (11th Cir.
  2003). Indeed, “[t]he certificate of appealability is a threshold or gateway requirement which
  serves to filter out from the appellate process cases in which the possibility of reversal is too
  unlikely to justify the cost to the system of a full appellate examination.” Gonzalez v. Secretary
  for Dept. of Corrections, 366 F.3d 1253, 1264 (11th Cir. 2004).
         It is well established that a COA may be issued “only if the applicant has made a
  substantial showing of the denial of a constitutional right.” 28 U.S.C. § 2253(c)(2); Hardwick v.
  Singletary, 126 F.3d 1312, 1313 (11th Cir. 1997). This standard is “materially identical” to that
  governing certificates of probable cause under the former 28 U.S.C. § 2253. Hardwick, 126 F.3d


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                  Alternatively, Files requests relief from judgment pursuant to Rule 60(a),
  Fed.R.Civ.P., which authorizes district courts to correct clerical mistakes in judgments, orders or
  other parts of the record. Files specifically references Rule 60(a) and repeatedly mentions
  “clerical error” as his basis for seeking relief from judgment; however, he identifies no clerical
  error in the underlying Order that might warrant application of Rule 60(a). Accordingly, Files’
  request in the alternative for relief under Rule 60(a) is denied because that provision is
  inapplicable here. See Weeks v. Jones, 100 F.3d 124, 128-29 (11th Cir. 1996) (explaining that
  Rule 60(a) is confined to clerical mistakes and does not reach errors of substantive judgment).

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  at 1313. In the context of certificates of probable cause, the Supreme Court defined the
  requirement of “a substantial showing of the denial of a federal right” to mean that the applicant
  must raise an issue that is debatable among jurists of reason. Barefoot v. Estelle, 463 U.S. 880,
  893 n. 4, 103 S.Ct. 3383, 77 L.Ed.2d 1090 (1983).
         “In requiring a ‘question of some substance,’ or a ‘substantial showing of the
         denial of [a] federal right,’ obviously the petitioner need not show that he should
         prevail on the merits. . . . Rather, he must demonstrate that the issues are
         debatable among jurists of reason; that a court could resolve the issues [in a
         different manner]; or that the questions are ‘adequate to deserve encouragement to
         proceed further.’”
  Id. (citations omitted). More recently, the Supreme Court echoed this interpretation in the
  context of a COA, opining that § 2253’s “substantial showing” requirement means that a
  petitioner must show “that reasonable jurists could debate whether (or, for that matter, agree
  that) the petition should have been resolved in a different manner or that the issues presented
  were adequate to deserve encouragement to proceed further.” Slack v. McDaniel, 529 U.S. 473,
  483-84, 120 S.Ct. 1595, 146 L.Ed.2d 542 (2000); see also Miller-El v. Cockrell, 537 U.S. 322,
  336, 123 S.Ct. 1029, 154 L.Ed.2d 931 (2003) (adopting and applying Slack standard). Where a
  district judge rejects constitutional claims on the merits, the petitioner must demonstrate “that
  reasonable jurists would find the district court’s assessment of the constitutional claims
  debatable or wrong.” Miller-El, 537 U.S. at 338.
         B.      Analysis.
         Files’ Motion generically requests a COA “as to the reasoning of your Honor’s denial of
  grounds one throuth [sic] five of the issues raised in his § 2255 petition.” (Doc. 2035, ¶ 2.) In
  his accompanying Memorandum of Law, however, Files more narrowly defines the issues on
  which a COA is sought as follows:
         “(1) Whether the this [sic] Court erred erroneously, in that, its factual finding with
         respect to the sentencing judge’s 2 point enhancement to Files for obstruction of
         Justice based under 3C1.1 of 1998, U.S. Sentencing Guidlines [sic] Manual,
         rather, that of the 1997 edieiton [sic] use[d] by the sentencing judge, (2) whether
         the Court erred erroneously in its factual finding in attributing a 2 point
         enhancement to Files for use of a firearm pursuant to 924(c) under Guideline
         2D1.1, and (3) if so, does the record disclose an adequate evidentiary basis for
         such findings.”
  (Memorandum of Law, at 3.) Thus, Files focuses exclusively on Ground Three, as amended, as

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  his basis for seeking issuance of a COA.
                 1.      Ineffective Assistance Objection to Obstruction Enhancement.
         Files first maintains that a COA should issue because this Court allegedly used the 1998
  version of the Sentencing Guidelines instead of the 1997 version in assessing Files’ § 2255
  arguments concerning his sentence enhancement for obstruction of justice pursuant to U.S.S.G. §
  3C1.1. This is simply not correct. The January 13 Order (doc. 2021) analyzed and applied the
  1997 version of § 3C1.1 at length, and specifically cast aside the 1998 iteration as “not germane
  here.” (January 13 Order, at 30-32 & n.33.) Files’ suggestion that the Court erroneously used
  the 1998 Guidelines lacks factual basis, and cannot justify issuance of a COA.
         The same result is obtained with respect to Files’ sub-arguments that his conduct giving
  rise to the obstruction of justice enhancement (to-wit, an incident in which he placed a gun to the
  head of a witness and told him that if he testified against Files’ brother, Michael (a co-defendant
  in this action), Files would “blow [his] damn brains out” so it would be “best to keep [his] mouth
  closed”) was not “willful” and did not relate to the “instant offense.” The Court’s analysis on
  pages 30-32 of the January 13 Order addresses these issues fully and will not be reiterated here.
  More importantly, however, Files’ analysis misses the point. If the question presented were
  whether reasonable jurists could debate the application of the “instant offense” requirement of
  the 1997 iteration of § 3C1.1 to Files’ conduct for which he received an obstruction
  enhancement, the undersigned would be inclined to respond affirmatively. But that question is
  not before the Court. Rather, the question is whether reasonable jurists could disagree as to
  whether it rose to the level of unconstitutionally deficient performance (that is, conduct in which
  no competent attorney would have engaged) for Files’ appellate counsel to opt not to raise a
  wobbly § 3C1.1 argument on direct appeal based on a problematic and uncertain construction of
  the “willful” and “instant offense” language of § 3C1.1. The Court answers that question in the
  negative. A competent appellate attorney could easily have decided in the exercise of sound
  professional judgment that the § 3C1.1 argument was too flimsy to warrant raising it on direct
  appeal. See Eagle v. Linahan, 279 F.3d 926, 940 (11th Cir. 2001) (“the Sixth Amendment does
  not require appellate attorneys to press every non-frivolous issue ... on appeal, provided that
  counsel uses professional judgment in deciding not to raise those issues”). For that reason, no
  COA will issue as to Files’ request for § 2255 relief alleging ineffective assistance of appellate

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  counsel in failing to contest the obstruction enhancement on direct appeal.2
                 2.      Ineffective Assistance Objection to Firearm Enhancement.
         Files next turns to the firearm enhancement component of Ground Three. In briefing this
  issue on his § 2255 Petition, Files treated the firearm enhancement as an afterthought and as a
  mere tagalong to the obstruction issue, without furnishing any separate analysis that the firearm
  enhancement was improper. The firearm enhancement issue was thus configured by Files as part
  and parcel of his obstruction issue, with no independent identity or distinct animating legal force.
  This is so despite the fact that Files’ § 2255 memorandum devoted fully 15 pages to analysis of
  Ground Three. (See doc. 1882, at 24-38.)3 Now, for the first time, Files proffers arguments that
  the firearm enhancement was improper under United States v. Pringle, 350 F.3d 1172 (11th Cir.
  2003) and Amendment 599 to the Sentencing Guidelines. (See doc. 2035, at 11-13.) In the
  Court’s view, it is improper to issue a COA based on legal arguments presented for the first time
  in the request for COA itself. Simply put, it strains credibility to argue that reasonable jurists


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                   Besides, the January 13 Order concluded that this ground for relief was untimely
  because it was not presented in Files’ original § 2255 petition, but was proffered for the first time
  on June 29, 2004, long after expiration of the one-year AEDPA deadline. The January 13 Order
  explained that the ineffective assistance claim arising from appellate counsel’s failure to litigate
  the obstruction enhancement on direct appeal cannot relate back under Rule 15(c) because “a
  reader carefully reviewing Files’ original § 2255 petition and the accompanying memorandum of
  law would have no inkling that Files harbored any unhappiness about his obstruction
  enhancements or his appellate counsel’s failure to litigate those matters on direct appeal.”
  (January 13 Order, at 28.) The undersigned finds that reasonable jurists could not debate
  whether this new ineffective assistance claim relates back to the original § 2255 Petition;
  therefore, this reason constitutes an independent basis for denying Files a COA on the ineffective
  assistance assignment of error relating to the obstruction enhancement. See Lawrence v. Florida,
  421 F.3d 1221, 1225 (11th Cir. 2005) (if habeas petition is denied on procedural grounds, then
  COA may issue only if petitioner shows both that jurists of reason could debate correctness of
  procedural ruling and that they could differ as to whether petition stated valid constitutional
  claim).
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                 Indeed, review of that 15-page segment of Files’ memorandum of law concerning
  Ground Three reveals several passing references to the firearm enhancement, but no distinct
  argument as to why it was ineffective assistance for his appellate counsel not to object to the
  firearm enhancement on direct appeal. Instead, Files’ tactic was to focus on the obstruction of
  justice enhancement and simply to lump the firearm enhancement in with it, without furnishing
  any separate analysis or discussion of the firearm enhancement.

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  could disagree as to whether this Court improperly denied Ground Three by failing to take into
  account brand-new arguments concerning the pre-existing firearm enhancement claim that Files
  unveiled for the first time in his request for COA.
         Even if those arguments were properly considered at this time, Files’ reliance on Pringle
  and Amendment 599 is misplaced. Both Pringle and Amendment 599 address the circumstances
  under which “a weapons enhancement may properly be applied to an underlying offense when
  the defendant has also been convicted for the use or possession of a firearm pursuant to 18
  U.S.C. § 924(c).” Pringle, 350 F.3d at 1179. Files was convicted of 24 counts in these
  proceedings; however, those counts were confined to violations of 21 U.S.C. §§ 841 and 846.
  Files was not convicted of violating § 924(c) or any other firearm statute. Because Files was
  neither prosecuted for nor convicted of violating § 924(c), his argument that his firearm
  enhancement is an “impermissible duplicative punishment” is not persuasive. (Doc. 2035, at
  12.) As such, Pringle and Amendment 599 are irrelevant, and cannot justify issuance of a COA
  on Files’ behalf.4
         For all of the foregoing reasons, and after careful review of the January 13 Order and the
  March 17 Order in their entirety, it is the conclusion of this Court that reasonable jurists could
  not debate whether Files’ § 2255 petition should have been resolved in a different manner, and
  that none of petitioner’s asserted grounds for relief are adequate to deserve encouragement to
  proceed further. Accordingly, Files’ request for a COA is due to be, and the same hereby is,
  denied.
  III.   Application to Proceed on Appeal In Forma Pauperis.
         The standard for a request to appeal in forma pauperis is distinct, and somewhat less
  stringent, than the standard for issuance of a Certificate of Appealability. “To proceed on appeal
  in forma pauperis, a litigant must be economically eligible, and his appeal must not be



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                  Even if Pringle and Amendment 599 are on point, Files’ quest for a COA on the
  firearm enhancement issue would fail because: (a) he has not proffered any argument or
  authority from which a reasonable jurist might conclude that appellate counsel was
  constitutionally defective in failing to argue the firearm enhancement on direct appeal; and (b) he
  has not shown that reasonable jurists could disagree with the Court’s conclusion that Ground
  Three is untimely and therefore barred because it fails a Rule 15(c) relation back analysis.

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  frivolous.” Jackson v. Dallas Police Dept., 811 F.2d 260, 261 (5th Cir. 1986). A prisoner
  seeking in forma pauperis status must submit a financial affidavit regarding his prisoner account
  balance. See 28 U.S.C. § 1915(a)(2) (prisoner who wishes to proceed without prepayment of
  fees must “submit a certified copy of the trust fund account statement (or institutional
  equivalent) for the prisoner for the 6-month period immediately preceding the filing of the ...
  notice of appeal”). In his Affidavit, Files avers that he has no sources of income other than his
  prison employment. Although he fails to list how much he earns from his prison employment,
  Files does submit evidence that his prison account balance is $50.78, that his total deposits into
  that account over the last six months have been $305.84, that his withdrawals during that same
  period have been $560.10, and that he is responsible for the support of Kaneria L. Files, and
  Edward J. Files, Jr. (even though he fails to document the amount and frequency of such
  support). Files’ Affidavit is incomplete in several important respects; nonetheless, after careful
  review of same, the Court is satisfied that Files has adequately demonstrated his inability to pay
  for purposes of satisfying the indigence prong of the IFP standard.
          Even with a finding of economic eligibility, however, a party may not appeal in forma
  pauperis if the district court certifies that the appeal is not taken in good faith. 28 U.S.C. §
  1915(a)(3); Busch v. County of Volusia, 189 F.R.D. 687, 691 (M.D. Fla. 1999). An appeal is not
  taken in good faith if it is plainly frivolous. United States v. Youngblood, 116 F.3d 1113, 1115
  (5th Cir. 1997); DeSantis v. United Technologies Corp., 15 F. Supp. 2d 1285, 1289 (M.D. Fla.
  1998) (appeal is not taken in good faith when it fails to “seek[] appellate review of any issue that
  is not frivolous”); United States v. Durham, 130 F. Supp. 445 (D.D.C. 1955) ("good faith" means
  the existence of a substantial question or one which has merit and is not frivolous); Sejeck v.
  Singer Mfg. Co., 113 F. Supp. 281 (D.N.J. 1953) ("in good faith" means that points on which
  appeal is taken are reasonably arguable); United States v. Gicinto, 114 F. Supp. 929 (W.D. Mo.
  1953) (the application should be denied if the trial court is of opinion that the appeal is frivolous,
  and without merit, and a futile proceeding); see generally Napier v. Preslicka, 314 F.3d 528, 531
  (11th Cir. 2002) (action is frivolous for § 1915 purposes if it is without arguable merit either in
  law or in fact).
          Upon review of the § 2255 petition, the January 13 Order, the March 17 Order and the
  grounds for appeal articulated in Files’ most recent submissions (doc. 2035), this Court

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  determines that petitioner’s appeal of the January 13 and March 17 Orders is devoid of even
  arguable merit, either in law or in fact. Therefore, the Court finds that Files’ appeal is frivolous,
  and that the instant appeal is not taken in good faith. As such, he is not entitled to proceed on
  appeal without prepayment of fees, even though he can satisfy the indigence requirement.
  Accordingly, Files’ Application to Proceed without Prepayment of Fees is denied.
  IV.    Conclusion.
         For the foregoing reasons, petitioner’s Petition Requesting Certificate of Appealability or
  in the Alternative Motion for Relief from Final Judgment (doc. 2035), and his Application to
  Proceed without Prepayment of Fees (doc. 2036) are denied.


         DONE and ORDERED this 31st day of May, 2006.


                                                         s/ WILLIAM H. STEELE
                                                         UNITED STATES DISTRICT JUDGE




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